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 5 Attorney for Defendant,
   JOSEPH NOLAN
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 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                         EASTERN DISTRICT OF CALIFORNIA, FRESNO
10
                                                 *****
11
12 UNITED STATES OF AMERICA,                       ) Case No.: 10-CR-0131 AWI
13                                                 )
                  Plaintiff,                       ) STIPULATION TO TRAVEL FOR
14         vs.                                     ) EMPLOYMENT PURPOSES
                                                   )
15                                                 )
     JOSEPH NOLAN,
16                                                 )
                                                   )
17                Defendant.
                                                   )
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19
           IT IS HEREBY STIPULATED between the Defendant, JOSEPH NO, by and through his
20
     attorney of record, Anthony P. Capozzi, and Plaintiff, by and through Assistant United States
21
22 Attorney, Karen Escobar, that the Defendant be granted permission to leave the Eastern District
23 of California Sunday, April 10, 2011 to Wednesday, April 13, 2011 for business purposes.
24
     (Final travel arrangements will not be confirmed until a decision is made by the court.)
25
           Mr. NOLAN operates Cross Creek Building Center in Malibu, California which
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27 produces stone material. He will fly to Oklahoma on Sunday, April 10 and stay one night then drive to
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              Case 1:10-cr-00131-LJO Document 54 Filed 04/08/11 Page 2 of 3

                                    th                       th
 1 Little Rock, Arkansas on April 11 for one day. On April 12 he will drive to Wichita, Kansas and then return
 2 to Los Angeles on either April 12th or early on April 13th depending upon flight availability. Mr. NOLAN is
 3 scheduled to report to his Pretrial Services Officer's office on Thursday, April 14, 2011.
 4
            The purpose of this trip is for business meetings and to survey installation sites. Mr. NOLAN has
 5
     been under the supervision of Pretrial Services for the past year and is currenlty out on a
 6
 7 $500,000.00 property bond, which includes his home and the homes of family members. Mr.
 8 NOLAN has complied with all of the conditions of his release, and with all the requests made
 9
     of him by Pretrial Services. His Los Angeles Pretrial Services Officer, Michelle Ries does not
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     object to this request.
11
12                                                                 Respectfully submitted,

13 Dated: April 6, 2011
                                                                          /s/ Anthony P. Capozzi
14
                                                                   Anthony P. Capozzi,
15                                                                 Attorney for Defendant,
                                                                   JOSEPH NOLAN
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                Case 1:10-cr-00131-LJO Document 54 Filed 04/08/11 Page 3 of 3


 1                                             ORDER
 2
 3            Good cause having been shown, Mr. NOLAN’s conditions of release shall be modified

 4 to allow him to travel from Sunday, April 10, 2011 to Wednesday, April 13, 2011 for job
 5
     related purposes.
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                IT IS SO ORDERED.
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 8              Dated:   April 7, 2011                  /s/ Gary S. Austin
     6i0kij                                        UNITED STATES MAGISTRATE JUDGE
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